         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 1 of 21




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
                               v.                   )   2:20-cr-00063
                                                    )
                                                    )
CYNTHIA DEMNIAK,                                    )
                                                    )
                       Defendant.                   )

                                           OPINION

Mark R. Hornak, Chief United States District Judge

       Before the Court is Ms. Cynthia Demniak’s Motion to Reduce Sentence Pursuant to 18

U.S.C § 3582(c)(1)(A)(i) (“Motion for Compassionate Release” or “Motion”). On November 19,

2020, this Court sentenced Ms. Demniak to a term of imprisonment of 28 months, followed by a

three-year term of supervised release. (ECF No. 35.) Ms. Demniak began her term of imprisonment

on January 22, 2021. (Id.) On September 2, 2021, Ms. Demniak filed this Motion, citing the

COVID-19 pandemic and her underlying health issues as “extraordinary and compelling reasons”

justifying her release. (ECF No. 48, at 1.) The Government filed a response in opposition, to which

Ms. Demniak replied. (ECF Nos. 53, 55.)

       Based on the record before it, the Court concludes that Ms. Demniak has met the

requirement of administrative exhaustion and her motion is procedurally proper. However, the

Court concludes that Ms. Demniak’s circumstances are not “extraordinary and compelling

reasons” as required for her release or sentence reduction under § 3582(c)(1)(A)(i). The Court

further concludes that even if Ms. Demniak had demonstrated “extraordinary and compelling

reasons” justifying her release, consideration of the sentencing factors set forth in § 3553(a)

counsels against granting that relief or any other reduction in or modification of her sentence at

                                                1
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 2 of 21




this time. Accordingly, Ms. Demniak’s Motion for Compassionate Release (ECF No. 48) is

DENIED without prejudice.

   I.      BACKGROUND

        On March 9, 2020, Ms. Demniak was charged by information with five counts of wire

fraud and six counts of falsifying income tax returns. All eleven counts stem from a six-year period

in which Ms. Demniak embezzled nearly a million dollars from her employer and then failed to

report the money to the IRS as taxable income. (ECF No. 1.) Ms. Demniak waived her right to

indictment and pleaded guilty to all counts on July 16, 2020. (ECF Nos. 10, 11.) On November

19, 2020, the Court imposed a sentence of 28 months at each of the eleven counts, to run

concurrently, and to be followed by a term of supervised release of three years at each of Counts

1 through 5, and one year at each of Counts 6 through 11, with all supervised release periods to

run concurrently. (ECF No. 35.) Ms. Demniak began serving her term of imprisonment on January

22, 2021. (Id.; ECF No. 48-4, at 2.) As part of her sentence, the Court also ordered restitution of

$270,426—representing the amount owed to the IRS—and imposed a special assessment of

$1,100. (ECF No. 35.) On February 3, 2021, the Court ordered additional restitution in the amount

of $926,940—representing the amount Ms. Demniak embezzled from her employer. (ECF Nos.

41–42.)

        On September 2, 2021, Ms. Demniak filed a Motion for Compassionate Release pursuant

to 18 U.S.C. § 3582(c)(1)(A)(i). (ECF No. 48.) In supporting briefing, Ms. Demniak asserts that

she has a number of “serious medical conditions” and that she has “grown increasingly concerned

about her elevated risk of severe illness, and even death, should she contract COVID-19.” (ECF

No. 49, at 4–6.) Ms. Demniak states that she has “at least” meningioma, “a slow growing tumor

of the membranes surrounding the brain and spinal cord”; severe chronic migraines; essential



                                                 2
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 3 of 21




(idiopathic) hypertension; “[l]eg swelling, chest pain, shortness of breath, [and] high heart rate”;

remission from breast cancer; severe tinnitus; hyperactive thyroid; and depression. (Id. at 4–5.)

She further states that she has “recurring kidney stones, bladder issues, peripheral neuropathy

(numbness and tingling from neck to feet), increasing difficulty walking and standing, and issues

with her feet (including blisters and loss of her two big toenails).” (Id. at 5.) Ms. Demniak argues

that at 61, her age further contributes to her increased risk of severe COVID-19. (Id. at 11.)

         Ms. Demniak submitted a compassionate release request to the Warden at FPC Alderson

on March 8, 2021, citing many of the medical conditions above and stating that she “is more

susceptible to COVID than many.” (ECF No. 48-11.) The Warden denied her request on April 15,

2021, concluding that her concerns about contracting COVID-19 did not warrant early release and

determining that her stated medical conditions “did not meet the criteria for the categories as set

forth in [Bureau of Prisons (BOP)] policy.” (ECF No. 53-1.). Ms. Demniak’s reply brief states that

she filed a subsequent request to the BOP to be released to home confinement under the CARES

Act. (ECF No. 55, at 10.) The BOP has apparently granted that request and Ms. Demniak is

tentatively scheduled to be transferred to home confinement on November 22, 2021. (Id.)1

         The Government filed its Response to Defendant’s Motion to Reduce Sentence

(“Response”) on September 30, 2021. (ECF No. 53.) The Government contends that Ms. Demniak

“has not demonstrated that her various medical conditions . . . are either sufficiently severe, or

substantially increase the risk of grave consequences from contracting COVID-19.” (Id. at 2.) The

Government does not appear to dispute Ms. Demniak’s account that she suffers from a range of



1
 Ms. Demniak argues that the BOP’s decision to transfer her to home confinement does not moot her instant Motion.
(ECF No. 55, at 10 n.4.) The Court recognizes that the relief available (and apparently, in progress) under the CARES
Act may be temporary and is therefore distinguishable from the relief Ms. Demniak seeks here under the First Step
Act. While the Court therefore agrees that Ms. Demniak’s Motion is not moot, the Court concludes that it can consider
Ms. Demniak’s pending release by BOP to home confinement under the CARES Act as it determines whether
“extraordinary and compelling reasons” exist for the Court to grant her release under the First Step Act.

                                                         3
           Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 4 of 21




medical ailments but argues that “her medical conditions have been managed well in the prison

setting.” (Id. at 1.) The Government also points to the fact that Ms. Demniak has received two

doses of the Moderna COVID-19 vaccine, which it argues “will significantly mitigate” her risk of

contracting COVID-19 or becoming severely ill should she suffer a breakthrough infection. (Id. at

7–8.) Finally, the Government takes the position that the serious nature of Ms. Demniak’s crime

and victim opposition to her release counsel against granting her Motion. (Id. at 8–9.)

   II.       LEGAL STANDARD

          “[A]s a general matter, a court cannot modify a term of imprisonment after it has been

imposed without specific authorization.” McMillan v. United States, 257 F. App’x 477, 479

(3d Cir. 2007) (citing United States v. DeLeo, 644 F.2d 300, 301 (3d Cir. 1981)); see also Dillon

v. United States, 560 U.S. 817, 819 (2010) (citing 18 U.S.C. § 3582(c)). One such specific

authorization is the First Step Act’s amendment of 18 U.S.C. § 3582. As amended, that provision

allows a court to reduce a defendant’s term of imprisonment if “extraordinary and compelling

reasons warrant such a reduction.” § 3582(c)(1)(A)(i). In addition, the court must consider:

(1) whether the defendant has exhausted the appropriate administrative remedies; (2) the factors

set forth in 18 U.S.C. § 3553(a) to the extent that they apply; and (3) whether such a reduction

is consistent with applicable U.S. Sentencing Commission policy statements. § 3582(c)(1)(A).

   III.      DISCUSSION

          After analyzing the record before the Court, the Court concludes that while Ms. Demniak’s

Motion is properly before it, Ms. Demniak’s stated medical conditions do not constitute

“extraordinary and compelling reasons” for releasing Ms. Demniak or reducing her sentence,

either on their own or in combination with the COVID-19 pandemic. The Court further concludes

that even if Ms. Demniak had demonstrated that such medical conditions did constitute



                                                  4
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 5 of 21




“extraordinary and compelling” circumstances, releasing Ms. Demniak from custody or reducing

or modifying her sentence at this time would be inconsistent with the § 3553(a) sentencing factors

and would therefore be inappropriate. Id.

       A. Administrative Exhaustion

       As a threshold question, the Court must determine whether Ms. Demniak has complied

with § 3582(c)(1)(A)’s exhaustion requirement. Prior to petitioning a court for relief under

§ 3582(c), a defendant must first file an administrative request for compassionate release or a

sentence reduction with the warden of the facility where the defendant is incarcerated. The

defendant then has two options: they must either (1) “fully exhaust[] all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or (2) wait

30 days from the date on which the defendant filed an administrative request with the warden.

§ 3582(c)(1)(A). The Third Circuit has confirmed that either option, standing alone, is sufficient

to satisfy the administrative exhaustion requirement. See United States v. Harris, 973 F.3d 170,

171 (3d Cir. 2020) (explaining that “the statute states that [a] defendant may file [a] motion [in the

district court] thirty days after the warden receives his request” regardless of whether the warden

has denied the request within those thirty days).

       Here, the Court concludes that Ms. Demniak has met the administrative exhaustion

requirement. As part of her Motion for Compassionate Release, Ms. Demniak submitted a letter,

dated March 8, 2021, that was sent by her attorney to the Warden at FPC Alderson, seeking

compassionate release for Ms. Demniak under the First Step Act, or in the alternative, release to

home confinement under the CARES Act. (ECF No. 48-11.) On April 15, 2021, the Warden at

FPC Alderson sent a reply to Ms. Demniak, explaining that her request was being treated as a

request for a Reduction in Sentence (RIS) or Compassionate Release under the First Step Act, and


                                                    5
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 6 of 21




denying such request. (ECF No. 53-1.)2 The Warden’s letter stated that Ms. Demniak’s “concern

about being potentially exposed to, or possibly contracting, COVID-19” did not warrant her

release, and that the review of her medical records indicated that her medical conditions did not

meet the criteria for early release under BOP policy. (Id.) Ms. Demniak filed her Motion for

Compassionate Release with this Court on September 2, 2021. (See ECF No. 48.) As that date is

more than 30 days after Ms. Demniak sent her request to the Warden at FPC Alderson on March

8, 2021,3 the Court concludes that Ms. Demniak’s Motion is now properly before the Court under

the second option for administrative exhaustion defined in § 3582(c)(1)(A).

        B. “Extraordinary and Compelling Reasons”

        Next, the Court must determine whether Ms. Demniak’s medical conditions, in light of her

age and the COVID-19 pandemic, constitute an “extraordinary and compelling reason” that would

permit this Court to release Ms. Demniak from prison or to reduce or modify her sentence under

§ 3582(c)(1)(A)(i). The Court concludes that they do not.

        Section 3582 does not define the phrase “extraordinary and compelling reasons.” See

§ 3582(c)(1)(A)(i). Instead, Congress delegated that task to the Sentencing Commission. 28 U.S.C.

§ 994(t) (stating that the Sentencing Commission “shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

and a list of specific examples”). The Sentencing Commission defined “extraordinary and

compelling reasons” under the pre-First Step Act version of § 3582(c)(1)(A)(i) in a policy

statement contained in § 1B1.13 of the U.S. Sentencing Guidelines Manual (the “Guidelines”)—



2
 The Warden’s letter indicates that Ms. Demniak sent a follow-up letter on April 1, 2021, though this second letter
does not appear to be in the record. (ECF No. 53-1.)
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  The Warden’s response indicates that Ms. Demniak’s letter was received on March 9, 2021. (Id.). Given that nearly
six months passed between when Ms. Demniak sent her letter to the Warden and when Ms. Demniak filed her Motion
for Compassionate Release with this Court, this difference of one day is immaterial as to the exhaustion requirement.

                                                         6
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 7 of 21




relating to the BOP’s discretion to reduce a prisoner’s term of imprisonment—but the Commission

has not updated the policy statement since the First Step Act became law. See United States v.

Rodriguez, 451 F. Supp. 3d 392, 396 (E.D. Pa. 2020).

       In United States v. Andrews, the Third Circuit recently explained that, given the lack of an

updated applicable Sentencing Commission policy statement defining “extraordinary and

compelling reasons,” “the existing policy statement is not applicable—and not binding—for courts

considering prisoner-initiated motions” for compassionate release. No. 20-2768, 12 F.4th 255, 259

(3d Cir. 2021). However, “although the policy statement is no longer binding, it still sheds light

on the meaning of extraordinary and compelling reasons.” Id. at 260. This is because “Congress

legislates against the backdrop of existing law.” Id. (quoting Parker Drilling Mgmt. Servs., Ltd. v.

Newton, 139 S. Ct. 1881, 1890 (2019)). By “reenact[ing] the compassionate-release statute without

any alterations to the phrase ‘extraordinary and compelling reasons,’” Congress likely intended

the phrase to retain the meaning that the Sentencing Commission gave it in its pre-First Step Act

policy statement. Id. Therefore, in reviewing this Motion, this Court does not treat the provisions

of U.S.S.G. § 1B1.13 and its Application Notes as “an ultimate binding authority,” but the Court

nonetheless considers them as a guide in its analysis. Id.

       The Court concludes that, based on the record before it, Ms. Demniak’s medical conditions

and associated COVID-19-related risks do not constitute “extraordinary and compelling reasons”

warranting a reduction in her sentence. 18 U.S.C. § 3582(c)(1)(A)(i). As Ms. Demniak points out

in her Motion, the Application Notes to § 1B1.13 of the Guidelines outline two scenarios in which

medical conditions can rise to an “extraordinary and compelling” level: (1) terminal illnesses, such

as metastatic cancers, ALS, or end-stage organ disease, and (2) “serious physical or medical

condition[s]” that “substantially diminish[] the ability of the [individual] to provide self-care”



                                                  7
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 8 of 21




within the prison environment, and “from which he or she is not expected to recover.” § 1B1.13,

cmt. n.(1)(A). Ms. Demniak’s Motion seeks relief under option (2), the “non-terminal” option.

(ECF No. 49, at 10.)

        Ms. Demniak submitted prison medical records beginning in 2021 that along with her

briefing present an extensive list of medical conditions. (ECF Nos. 49, 48-14.) Ms. Demniak’s

arguments, however, rely primarily on two specific conditions: her “poorly controlled,

essential/idiopathic hypertension” and her past history and current risk of cancer. (See ECF No.

49, at 4–5, 11–12.) Specifically, Ms. Demniak has a history of aggressive breast cancer—currently

in remission—and has been diagnosed with meningioma, “a slow-growing tumor of the brain and

upper spine that may be cancerous.” (Id. at 11–12.) She notes that these conditions are among

those “recognized by the Centers for Disease Control and Prevention (CDC) as creating a

heightened risk of severe illness or death from COVID-19,” and cites cases where this Court relied

on that same CDC guidance in finding “extraordinary and compelling reasons” for release. (Id. at

10 (citing United States v. Gustafson, Crim No. 15-73, 2020 WL 4877252 (W.D. Pa. Aug. 20,

2020); United States v. Walls, Crim No. 12-173, 2020 WL 6390597 (W.D. Pa. Nov. 2, 2020)).)

Additionally, Ms. Demniak suggests that the COVID-19 “Delta variant” and the particular

circumstances at FPC Alderson, where inmates are housed in dormitory-style units, have work

details, and have a certain amount of freedom of movement, further increase her risk of contracting

COVID-19. (ECF No. 49, at 12–13.) She argues that these environmental factors, together with

her health conditions and her age (she is 61), constitute “extraordinary and compelling” reasons

justifying her release. (Id. at 11, 13.)

        In its response, the Government acknowledges that Ms. Demniak’s medical records support

her contention that she has a variety of medical conditions but argues that the records also

                                                8
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 9 of 21




“demonstrate that her medical conditions are being well-treated medically with prescription

medications, and do not impair her functionality.” (ECF No. 53, at 6.) With respect to Ms.

Demniak’s history of cancer, the Government argues that because Ms. Demniak’s cancer is

currently in remission, it “does not present a medical condition that substantially diminishes her

ability to provide self-care within a correctional environment,” and cites cases denying

compassionate release to individuals with a history of Hodgkin’s Lymphoma and colon cancer.

(Id. at 6–7 (citing United States v. Gadsden, No. 09-cr-305, 2021 WL 195267 (W.D. Pa. Jan. 20,

2021); United States v. Mason, No. 18-cr-329, 2020 WL 4034835 (W.D. Pa. July 17, 2020)).)

       Finally, the Government argues that the risk of Ms. Demniak contracting or becoming

severely ill due to COVID-19 is significantly mitigated as she has received two doses of the

Moderna COVID-19 vaccine, in April and May 2021, respectively. (Id. at 7–8.) The Government

also points to the relatively low number of cases at FPC Alderson, citing data from September 21,

2021, when there were reportedly 14 active cases of COVID-19 among inmates at FPC Alderson.

(Id.) The Court notes that as of November 15, 2021, there are no active cases at FPC Alderson,

considering both inmates and staff. Fed. Bureau of Prisons, “COVID-19 Cases” available at

https://www.bop.gov/coronavirus/ (last updated Nov. 15, 2021).

       The Court agrees with Ms. Demniak that it is appropriate to consider her medical

conditions “against the backdrop of the CDC's guidance as to conditions that either place an

individual at increased risk of severe illness should they contract the COVID-19 virus, or increase

an individual's risk of becoming infected in the first place.” (ECF No. 49, at 10 (citing Walls, 2020

WL 6390597, at *25).) As a preliminary matter, the CDC notes that “[t]he risk of severe COVID-

19 increases as the number of underlying medical conditions increases in a person.” People with

Certain Medical Conditions, Ctrs. for Disease Control & Prevention (last updated Oct. 14, 2021),

                                                 9
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 10 of 21




https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html. The Court will therefore consider each of Ms. Demniak’s conditions individually

as well as their cumulative effect.

        First, CDC data indicate that more than 80 percent of deaths occur in people over age 65.

Id. The Court notes that Ms. Demniak is 61 years old and is therefore not in the highest risk age

group, but the CDC explains that risk increases for people in their 50s, with further increases in

each decade thereafter. COVID-19 Risks and Vaccine Information for Older Adults, Ctrs. for

Disease        Control    &      Prevention      (last     visited     November        5,     2021),

https://www.cdc.gov/aging/covid19/covid19-older-adults.html. Detailed CDC data show that

individuals between the ages of 50 and 64 have a hospitalization rate 4 times higher than those

between the ages of 18 and 29 and are 30 times more likely to die of the virus. Risk for COVID-

19 Infection, Hospitalization, and Death, Ctrs. for Disease Control & Prevention (last updated

Sept.     9,     2021),    https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-

discovery/hospitalization-death-by-age.html. In contrast, individuals between the ages of 75 and

84 are 9 times as likely to be hospitalized as those between 18 and 29 and are 220 times as likely

to die. Id. The Court does not minimize the increased risk that Ms. Demniak faces due to her age

but notes that she is not in the highest risk category, and concludes that her age is not sufficient,

on its own, to constitute an “extraordinary and compelling reason” for her release. See Mason,

2020 WL 4034835, at *3 (“[A]t age 61, Mr. Mason may be at a higher risk of severe illness should

be contract the virus. However, he is less than the designated over age 65 at-risk category for

COVID-19; thus, his age alone does not justify his requested release.”)

        Second, the CDC notes that “having a history of cancer may increase your risk,” and points

to the National Cancer Institute (NCI)’s webpage “Coronavirus: What People with Cancer Should

                                                 10
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 11 of 21




Know,” which distinguishes between those individuals who currently have cancer and therefore

“have a higher risk of severe illness from COVID-19,” and those with a history of cancer, who

may have an increased risk. (last visited Nov. 11, 2021), https://www.cancer.gov/about-

cancer/coronavirus/coronavirus-cancer-patient-information. The NCI webpage indicates that

people with blood cancers may be at a higher risk than those with solid tumors, as blood cancers

can result in a depleted immune response. Id. And those who have recently received a treatment

that suppresses the immune system, such as chemotherapy, may be advised to wait until their

immune system recovers before receiving a COVID-19 vaccine, to ensure that the vaccine’s

efficacy is not reduced. Id.

        Ms. Demniak’s history involves breast rather than blood cancer, she is in remission, and

her medical records indicate that she was treated with radiation and chemotherapy in 2012. (ECF

No. 48-14, at 20.) Her case is therefore distinguishable from this Court’s recent decision in United

States v. Saunders, determining that Mr. Saunders, who was being actively treated with

chemotherapy for stage IVb follicular lymphoma, met the criteria for “extraordinary and

compelling” circumstances under the non-terminal option. No. 07-cr-294, 2021 WL 2619786, at

*6 (W.D. Pa. June 23, 2021).4 Instead, Ms. Demniak’s history of cancer appears to be more akin

to that which was rejected as an “extraordinary and compelling” circumstance in Gadsden and

Mason. In Gadsden, the Court determined that “[a] history of [Hodgkin’s Lymphoma] in 2005

(now in remission), does not present a medical condition that provides a basis for compassionate

release.” 2021 WL 195267, at *6. And in Mason, the Court similarly concluded that Mr. Mason’s

history of colon cancer, which had been in remission since 2005, did not “increase[] his risk of



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 This Court ultimately denied Mr. Saunders’ motion for compassionate release after finding that the § 3553(a) factors
weighed against a reduction in his sentence. Id. at *13.


                                                        11
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 12 of 21




major complications from COVID-19” or “predispose[] him to more readily contract the virus.”

2020 WL 4034835, at *3.5 Based on the evidence before it, the Court cannot conclude that Ms.

Demniak’s history of cancer standing alone constitutes an “extraordinary and compelling reason”

for her release.

        Third, current CDC guidance states that “[h]aving heart conditions such as heart failure,

coronary artery disease, cardiomyopathies, and possibly high blood pressure (hypertension) can

make you more likely to get severely ill from COVID-19.” People with Certain Medical

Conditions, Ctrs. for Disease Control & Prevention (last updated Oct. 14, 2021),

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (emphasis added). This classification of hypertension is notably different than the

CDC guidance around pulmonary hypertension, defined as high blood pressure in the lungs, which

the CDC states unequivocally “can make you more likely to get severely ill from COVID-19.” Id.;

see also United States v. Gray, No. 13-cr-11, 2010 WL 5350444 (W.D. Pa. Sept. 4, 2020)

(“Notably, most (though not all) COVID-19 release cases where hypertension has been considered




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 Ms. Demniak also states that she suffers from meningioma, defined in her briefing as “a slow-growing tumor of the
brain and upper spine that may be cancerous.” (ECF No. 49, at 4.) The description of meningioma from Mayo Clinic,
which Ms. Demniak submitted as Exhibit F, does not mention cancer but indicates that meningiomas are the “most
common type of tumor that forms in the head” and that they “do not always require immediate treatment and may be
monitored over time.” (ECF No. 48-6, at 2.) The Court has reviewed the medical records Ms. Demniak submitted as
Exhibit N and has concluded that there is no evidence that Ms. Demniak’s specific meningioma is cancerous. (See
ECF No. 48-14.) Instead, Ms. Demniak’s meningioma appears to have been a chronic condition that her clinicians
have been monitoring over time. Her records indicate that her last MRI was in 2019, (id. at 31), and records from an
exam performed by Dr. Joseph Dickerson on January 25, 2021 state that Ms. Demniak reported that her migraines
have been a chronic problem since childhood and that she had “a small brain tumor” in the back of her head, (id. at
16). Elsewhere, Ms. Demniak’s medical records indicate that she reported a history of a brain tumor but denied
symptoms when she was examined on February 10, 2021, and that on February 22, 2021, Dr. Joseph Dickerson
diagnosed her with “[b]enign neoplasm of central nervous system, unspecified, D339 – Current – meningioma?”. (Id.
at 21, 26). These records do not demonstrate, or even suggest, that Ms. Demniak’s meningioma is cancerous, and Ms.
Demniak has not suggested any other reason why her meningioma might predispose her to infection or severe
complications from COVID-19.

                                                        12
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 13 of 21




a significant risk factor involve a defendant with pulmonary hypertension, or hypertension in

connection with other cardiovascular, pulmonary, respiratory, or immunological conditions.”)

         Perhaps reflecting the continued medical uncertainty about the association between

hypertension and severe COVID-19 and the constantly changing circumstances of the pandemic,

the caselaw does not reflect a uniform consensus as to whether hypertension provides an

“extraordinary and compelling reason” for compassionate release. On the one hand, Ms.

Demniak’s brief provides a set of cases from other districts in which judges have concluded that

the increased risk of severe COVID-19 due to hypertension constitutes a “extraordinary and

compelling reason” for release and argues that this Court should conclude the same is true in her

case. (ECF No. 49, at 11–12 (citing, e.g., United States v. Soto, No. 18-cr-10086, 2020 WL

2104787, at *2 (D. Mass. May 1, 2020); United States v. Scparta, No. 18-cr-578, 2020 WL

1910481, at *9 (S.D.N.Y. Apr. 20, 2020); United States v. Sawicz, No. 08-cr-287, 2020 WL

1815851 (E.D.N.Y, Apr. 10, 2020).) The Court notes that some courts in this district have reached

the same conclusion. E.g., United States v. Somerville, 463 F. Supp. 3d 585, 597–98 (W.D. Pa.

2020).6 But other courts have denied compassionate release in cases where the defendant argued

that their hypertension put them at increased risk of COVID-19, and panels of the Third Circuit

have declined to disturb those findings on appeal. E.g., United States v. Hicks, No. 15-cr-236,

Docket No. 110, at 5–6 (W.D. Pa. Nov. 30, 2020), aff’d, No. 20-3513, 2021 WL 4316829, (3d Cir.




6
  This Court itself determined that “extraordinary and compelling” circumstances were present where an inmate
suffered from hypertension in addition to type 2 diabetes mellitus with diabetic neuropathy and obesity. United States
v. Coleman, No. 16-cr-139, 2020 WL 6334784, at *6 (W.D. Pa. Oct. 29. 2020). In Coleman, however, this Court
concluded that in addition to Mr. Coleman’s hypertension, which might put him at increased risk, he suffered from
two conditions in type 2 diabetes and obesity that did put him at increased risk. Id. As such, Coleman is not controlling
of Ms. Demniak’s Motion.

                                                          13
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 14 of 21




Sept. 23, 2021); United States v. Coleman, No. 12-cr-295, Docket No. 177, at 9–10 (E.D. Pa. Oct.

13, 2020), aff’d per curiam, 848 F. App’x 65 (3d Cir. 2021).

         The Government does not appear to dispute that hypertension can in some cases rise to the

“extraordinary and compelling” level but argues that Ms. Demniak’s medical conditions, including

her hypertension, “are being well-treated medically with prescription medications” at FPC

Alderson. (ECF No. 53, at 6.) Ms. Demniak’s medical records reflect that she takes Lisinopril (an

ACE inhibitor) daily for her hypertension. (ECF No. 48-14, at 6–7.) They also reflect that FPC

Alderson has regularly monitored her high blood pressure—one document shows that on January

25, 2021, Dr. Dickerson ordered it taken twice weekly, and a different report generated on March

26, 2021 reflects that prison health officials took Ms. Demniak’s blood pressure 22 times between

January 25, 2021 and March 18, 2021. (Id. at 17, 24–25.)7 Many of the readings taken during this

period reflect levels that would put Ms. Demniak in the High Blood Pressure (Hypertension) Stage

2 category as defined by the American Heart Association, falling in between Stage 1 Hypertension

and Hypertensive Crisis. Understanding Blood Pressure Readings, American Heart Association

(last     visited      Nov.       10,      2021),       https://www.heart.org/en/health-topics/high-blood-

pressure/understanding-blood-pressure-readings. It is not clear to the Court whether Ms.

Demniak’s blood pressure is “under control”—she argues that it is not—but the Court does agree

with the Government that Ms. Demniak is receiving persistent evaluation and care for her

hypertension, including both monitoring and prescription medication. Moreover, it is not obvious




7
  None of the medical records Ms. Demniak submitted appear to relate to treatment received after March of 2021,
though it is not clear from the record whether that reflects a lack of treatment, a gap in medical records, or a gap in
what was submitted.


                                                         14
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 15 of 21




what additional care Ms. Demniak would receive if she were released, and her briefing does not

suggest any.

         Ultimately, the Court concludes that while under certain circumstances, hypertension

similar to Ms. Demniak’s could raise to an “extraordinary and compelling” level, it does not do so

here considering the totality of the circumstances.8 Here’s why.

         First, as the Government points out, Ms. Demniak has received two doses of the Moderna

mRNA COIVD-19 vaccine, and data on the effectiveness of such vaccines suggests that she would

be well protected against serious illness or hospitalization from the virus were she to contract it.

Moderna COVID-19 Vaccine Overview and Safety, Ctrs. for Disease Control & Prevention (Oct.




8
  Ms. Demniak also asserts that she suffers from a range of additional medical conditions, including severe chronic
migraines; “[l]eg swelling, chest pain, shortness of breath, [and] high heart rate”; severe tinnitus; hyperactive thyroid;
depression; “recurring kidney stones, bladder issues, peripheral neuropathy (numbness and tingling from neck to feet),
increasing difficulty walking and standing, and issues with her feet (including blisters and loss of her two big
toenails).” (ECF No. 49, at 4–5.) Many but not all of these conditions are facially apparent in Ms. Demniak’s medical
records, through what appear to be documents containing her medical history. (See, e.g., ECF No. 48-14, at 26.) But
neither the records nor Ms. Demniak’s briefing provide the requisite detail on the severity and/or currentness of these
conditions for the Court to determine whether they rise to an “extraordinary or compelling” level. The Court also notes
that with the exception of depression, which was recently added, none of the remaining conditions appear on the
CDC’s list of conditions that have the potential to make individuals more susceptible to COVID-19. People with
Certain Medical Conditions, Ctrs. for Disease Control & Prevention (last updated Oct. 14, 2021),
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html;               Jenna
Portnoy, Vaccine eligibility for mood disorders underscores elevated covid risk, The Washington Post (Oct. 27, 2021,
7:49 AM), https://www.washingtonpost.com/local/mental-disorder-cdc-covid-eligibility/2021/10/27/2a45eea0-32ae-
11ec-9241-aad8e48f01ff_story.html. And with respect to depression, there is nothing more for the Court to go on that
the mere fact of that diagnosis.

          The Court also notes that Ms. Demniak’s briefing makes reference to her role as a caretaker for her husband
and her parents prior to her incarceration. The U.S.S.G. § 1B1.13 provisions and Application Notes describe another
category of circumstances, separate from the defendant’s medical conditions, that may provide “extraordinary and
compelling reasons” for a sentence reduction: the defendant’s family circumstances. § 1B1.13, cmt. n.(1)(C).
Specifically, the Application Notes provide that “[t]he incapacitation of the defendant’s spouse . . . when the defendant
would be the only available caregiver for the spouse” is an extraordinary and compelling reason to reduce the
defendant’s sentence. § 1B1.13, cmt. n.(1)(C)(ii). A need to care for Ms. Demniak’s parents would not appear to be
covered by this provision, and in any event, Ms. Demniak does not appear to argue for her release based on a claim
that either her husband or parents meet the incapacitation requirement, but rather points to her prior caretaking role as
a personal characteristic relevant to sentencing under § 3553(a)(1). As such, the Court does not decide the issue of
whether the condition and needs of Ms. Demniak’s husband constitute an “extraordinary and compelling reason” for
her release.


                                                           15
        Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 16 of 21




28,            2021),            https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

vaccines/Moderna.html. Second, the most recent data from FPC Alderson shows that there are not

currently any active cases at that facility, considering both inmates and staff. Fed. Bureau of

Prisons, “COVID-19 Cases” available at https://www.bop.gov/coronavirus/ (last updated Nov. 15,

2021). While the Court does not agree with the Government’s assertion that the risk Ms. Demniak

faces from COVID-19 has been “virtually eliminated,” (ECF No. 53, at 7), the Court does conclude

that the risk to Ms. Demniak at FPC Alderson is not particularly severe or acute at this time. And

while the Court would not deny compassionate release based on the concept that a defendant is

“safer” while in prison if such release were otherwise appropriate, it is also not clear that Ms.

Demniak is at higher risk of COVID-19 infection or severe illness at FPC Alderson than she would

be in the community—Fayette County, Pennsylvania, where Ms. Demniak resided at the time she

was sentenced, has recently seen its highest numbers of new COVID cases since January of 2021

and has a vaccination rate seven percentage points below the state average. Tracking Coronavirus

in Pennsylvania: Latest Map and Case Count, N.Y. Times (last visited Nov. 12, 2021),

https://www.nytimes.com/interactive/2021/us/pennsylvania-covid-cases.html.

       Finally, Ms. Demniak reports in her reply that the BOP has granted her request to be

transferred to home confinement under the CARES Act, and such transfer is tentatively scheduled

to occur on November 22, 2021. Ms. Demniak is correct that such relief does not moot her instant

Motion as such form of CARES Act relief may be temporary and is therefore distinguishable from

the relief she seeks here under the First Step Act. The Court concludes, however, that the imminent

prospect of Ms. Demniak’s transfer to home confinement, when combined with her vaccination

status and the current absence of COVID-19 at FPC Alderson, does tend to negate any potentially

“extraordinary and compelling” nature of her current situation. In addition to mitigating any


                                                16
        Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 17 of 21




heightened risk due to communal living at FPC Alderson, Ms. Demniak’s pending release would

seem to permit her to see her usual medical professionals for any ongoing concerns she feels are

not being addressed by the BOP medical staff. The Court therefore concludes that at this time the

medical conditions Ms. Demniak suffers from do not rise to the level of “extraordinary and

compelling,” either on their own, in combination, or when considered in conjunction with the

COVID-19 pandemic. Given that the Court is denying Ms. Demniak’s Motion without prejudice,

she will be able to file an amended motion should she be returned to BOP custody and if her

medical situation would support such a renewed motion.

       C. The § 3553(a) Factors

       Even if the Court were to find that the record now before it demonstrates “extraordinary

and compelling reasons warrant[ing] [] a reduction” in Ms. Demniak’s sentence, the Court

concludes that there is not at this juncture and on this record a basis to release Ms. Demniak or to

reduce or modify her imposed sentence, considering the 18 U.S.C. § 3553(a) factors for imposition

of a sentence. § 3582(c)(1)(A).

       The determination of “whether to reduce an eligible defendant’s term of incarceration for

compassionate release after considering the § 3553(a) factors is committed to the discretion of the

[district court].” United States v. Jones, No. 12-cr-38, 2020 WL 3871084, at *4 (W.D. Pa. July 8,

2020) (citing United States v. Pawlowski, 967 F.3d 327, 330 (3d Cir. 2020)). That discretion

includes the district court’s authority to consider the length of the defendant’s original custodial

sentence, including the portions served and remaining, when weighing the § 3553(a) factors.

Pawlowski, 967 F.3d at 330–31. “In considering the section 3553(a) factors, [the Court] should

assess whether those factors outweigh [any] ‘extraordinary and compelling reasons’ warranting

compassionate release, particularly whether compassionate release would undermine the goals of


                                                17
        Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 18 of 21




the original sentence.” United States v. Bess, 455 F. Supp. 3d 53, 66 (W.D.N.Y. Apr. 22, 2020)

(citation omitted).

       Thus, if the Court were to conclude that there were the requisite “extraordinary and

compelling” circumstances in Ms. Demniak’s case, the Court would next need to address whether

requiring Ms. Demniak to serve the remainder of her sentence is a punishment that is “sufficient,

but not greater than necessary” to comply with the purposes of sentencing given those

circumstances. 18 U.S.C. § 3553(a). In her briefing, Ms. Demniak argues that her crimes were the

product of a compulsive gambling addition, a condition which she has made considerable progress

in treating both before and after beginning her sentence. (ECF No. 49, at 4.) She states that she has

not set foot in a casino since November 2018 and that her Pattern Risk Score for recidivism is -21,

corresponding to an overall risk level of “Minimum.” (Id.; see also ECF No. 48-5.) Additionally,

Ms. Demniak reports that she has maintained a work detail in the FPC Alderson library, has

completed institutional coursework, and is a member of the “Suicide Watch Prevention Team.”

(ECF No. 49, at 4.) According to her briefing, she has no disciplinary infractions and is on track

to earn 125 days of good time credit. (Id.) The Government argues in response that Ms. Demniak

committed serious crimes by embezzling hundreds of thousands of dollars from her employer and

adds that Ms. Demniak’s victims remain staunchly opposed to her release. (ECF No. 53, at 8–9.)

       On the record now before the Court, considering the § 3553(a) factors, and considering them

in the context of the circumstances Ms. Demniak now advances, the Court concludes that Ms.

Demniak’s original sentence of 28 months of imprisonment, followed by 36 months of supervised

release, remains necessary to fulfill the purposes of sentencing. In particular, based on the record

before it, the Court finds significant the need for Ms. Demniak’s sentence “to reflect the seriousness

of the offense” and “to afford adequate deterrence to criminal conduct.” § 3553(a)(2).



                                                 18
          Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 19 of 21




         As of the filing of her Motion, Ms. Demniak had served just 8 months of her 28-month

sentence (she has now served between 9 and 10 months). The 28-month sentence reflects that Ms.

Demniak pleaded guilty to serious crimes—she embezzled nearly a million dollars from her

employer and deprived the United States of more than $270,000 in duly-owed tax revenue. (See ECF

No. 7-1.) In fact, the guideline range at the time of sentencing was a term of imprisonment of 41 to

51 months. (ECF No. 49 at 3.) As Ms. Demniak notes in her brief, the Court “depart[ed] significantly

downward from the guideline range.” (Id.)9 In doing so, the Court considered Ms. Demniak’s

acceptance of responsibility, her lack of criminal history, and the circumstances under which she

committed her crimes. Ms. Demniak now points to those very same factors in asking the Court to

further reduce her sentence by nearly 60 percent.10

         The Court does not agree that such a reduction would be appropriate. In short, with the

exception of her report of continued self-restraint and good behavior at FPC Alderson, Ms.

Demniak’s current briefing puts forth very little information that was not available to the Court when

it reached its initial sentencing decision. The circumstances of Ms. Demniak’s offense conduct and

her personal situation were well known to the Court at the time of her sentencing—the sentencing




9
 As a matter of precision, the imposition of a custodial sentence below the now-advisory Sentencing Guidelines was
by virtue of a sentencing variance as opposed to a sentencing departure.
10
  Ms. Demniak cites United States v. Dana for the proposition that “crimes committed while in the throes of addiction
are different, and this factor should be construed as a mitigating circumstance weighing in favor of relief under the
First Step Act.” (ECF No. 49, at 15 (citing 467 F. Supp. 3d 962 (D. Or. 2020)).) As a preliminary matter, the Court
does not agree with Ms. Demniak that the “only significant difference” between her case and Mr. Dana’s is the
percentage of sentence served, (Id. at 16 (emphasis added)), because the Court must consider the § 3553 factors in the
context of the purported “extraordinary and compelling” circumstances put forth by the Defendant, Bess, 455 F. Supp.
3d at 66, and Ms. Demniak does not explain in any detail whether her circumstances are comparable to those faced by
Mr. Dana. The Court does agree with Ms. Demniak, however, that the difference in time served is significant. Ms.
Demniak’s briefing suggests that with projected good time credit, she can be expected to serve roughly 24 months.
(ECF No. 49, at 16.) By the Court’s count, it has now been just under 10 months since Ms. Demniak began serving
her sentence. She has therefore served approximately 40 percent of her projected custodial sentence, just half of 80
percent that had been served by Mr. Dana at the time of his release. With respect to the § 3553(a)(2) factors, including
the need to reflect the seriousness of the offense and the need for adequate deterrence, the Court concludes that it does
make a significant difference that Ms. Demniak is much farther from completing her sentence than was Mr. Dana.

                                                          19
        Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 20 of 21




memorandum she submitted provides excerpts of letters from family and friends detailing the

personal challenges Ms. Demniak faced in her life, the shock to those around her when they learned

of her crimes, and her efforts to recover from her addiction. (See ECF No. 26.) Her family

circumstances and many of her health challenges were also reflected in the sentencing memorandum

and pre-sentence report prepared by Pretrial Services. (See id.; ECF No. 18.) The one notable

exception is her high blood pressure, but as the Court concluded above, Ms. Demniak is receiving

treatment for that condition and it does not rise to the level of “extraordinary and compelling” under

the totality of the circumstances.

        Moreover, while Ms. Demniak argues that “time served in the context of a deadly, global

pandemic is of a fundamentally different—and far more punitive—nature” than time served outside

of that context, this Court originally imposed Ms. Demniak’s sentence in late November of 2020,

with full knowledge of and regard for the ongoing pandemic. The Court therefore concludes that for

the same reasons as the Court relied upon in imposing Ms. Demniak’s original sentence, reducing

Ms. Demniak’s sentence at this time would not adequately reflect the seriousness of her conduct or

provide adequate deterrence of such conduct, particularly to others. The Court further concludes that

serving the remainder of her sentence is a punishment that is “sufficient, but not greater than

necessary” to comply with the purposes of sentencing. 18 U.S.C. § 3553(a).




                                                 20
         Case 2:20-cr-00063-MRH Document 56 Filed 11/16/21 Page 21 of 21




   IV.      CONCLUSION

         The Court has considered the parties’ pleadings and other relevant information in the

record, the relevant factors set forth in § 3582(c), the applicable Sentencing Commission policy

statements, and the § 3553(a) factors. Having done so, the Court concludes that while Ms.

Demniak’s Motion is properly before it, Ms. Demniak has not demonstrated “extraordinary and

compelling reasons” for her early release, and that even if she had, on the record as it now exists,

her release would be improvident based on the factors the Court must consider under § 3553(a).

Accordingly, Ms. Demniak’s Motion to Reduce Sentence Pursuant to 18 U.S.C § 3582(c)(1)(A)(i)

(ECF No. 48) is DENIED without prejudice to its reassertion if further facts support it.

         An appropriate Order will issue.



                                                             _s/ Mark R. Hornak ____________
                                                             Mark R. Hornak
                                                             Chief United States District Judge

Dated: November 16, 2021
cc:    All counsel of record




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